Case 2:03-CV-02568-BBD-tmp Document 320 Filed 08/18/05 Page 1 of 3 Page|D 325

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IN THE UNITED sTATEs DIsTRIcT coURT BY~~ ac-

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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cHARLENE sPINKS' M

Plaintiff,
vs.

Civ. Nb. 03-2568-DZP

HOME TECH SERVICES CO., INC.,
et al.,

~_»`_¢v\.d\_¢h./\_d~_/\_d~_¢v

Defendants.

 

ORDER GRANTING DEFENDANT PERKINS, JOHNSON AND SETTLE’S MOTION FOR
PROTECTIVE ORDER

 

Before the Court is Defendant Perkins, Johnson and Settle's
Motion for Protective Order, filed February 17, 2005 (dkt #235).
For good cause shown and no opposition thereto, defendant’s motion

for a protective order is hereby GRANTED.

Tll%.e`

TU M. PHAM
United States Magistrate Judge

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IT IS SO ORDERED.

 

Date

Th|s document entered on the docket sheet in Comp|iance 320
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This notice confirms a copy of the document docketed as number 320 in
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Honorable Bernice Donald
US DISTRICT COURT

